Case
 Case2:14-cr-00249-APG-PAL
       2:14-cr-00249-APG-PAL Document
                             Document214  Filed10/09/14
                                      201 Filed 10/15/14 Page
                                                          Page11
                                                               ofof
                                                                  73
Case
 Case2:14-cr-00249-APG-PAL
       2:14-cr-00249-APG-PAL Document
                             Document214  Filed10/09/14
                                      201 Filed 10/15/14 Page
                                                          Page22
                                                               ofof
                                                                  73




  IT IS SO ORDERED this 14th day
  of October, 2014.


  ____________________________
  Peggy A. Leen
  United States Magistrate Judge
Case
 Case2:14-cr-00249-APG-PAL
       2:14-cr-00249-APG-PAL Document
                             Document214  Filed10/09/14
                                      201 Filed 10/15/14 Page
                                                          Page33
                                                               ofof
                                                                  73
